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ATTORNEYS                                                                                                            ADMINISTRATIVE
MARC A. SCARINGI                                                                                                    FIRM ADMINISTRATOR
MELANIE W ALZ SCARINGI                                                                                                 DOMINIC M. FURE
FRANK C. S LUZIS                                                                                                     SENIOR LAW CLERK
KEITH E. KENDALL                                                                                                  AMANDA N. HARTRANFT
BRIAN C. CAFFREY
                                                                                                                            PARALEGALS
KELLY M. W ALSH
                                                                                                                         AMY M. BRADY
R OBERT M. SAKOVICH
                                                                                                                      DEBORAH A. BLACK
ANTHONY E. MILEY
                                                                                                                         MARY T. RINEER
FRANK D. MROCZKA
                                                                                                                     DEBORAH L. GORDON
STEPHEN S. W ERNER
                                                                                                                       KARA E. LEVERING
T.R. W ILLIAMS
                                                                                                                         ANN M. AMENT
JOSEPH R. D’ANNUNZIO
JUDITH T. WALZ (OF COUNSEL)                                          REPLY TO:                                                  WEBSITE
                                                                                                                 WWW.SCARINGILAW.COM
                                                               HARRISBURG OFFICE
                                                        2000 Linglestown Road • Suite 106
                                                               Harrisburg, PA 17110
                                                         717 657-7770 • 717 657-7797 fax


                                                         November 18, 2020

   SENT VIA CM/ECF FILING
   The Honorable Matthew W. Brann
   US Middle District Court of Pennsylvania
   240 West Third Street, Suite 401
   Williamsport, PA 17701
             RE: Donald J. Trump for President, Inc., et. al. v. Kathy Boockvar, et. al.
                 No. 4:20-CV-02078-MWB
                 Our File No. 20-472
   Dear Judge Brann:

         Plaintiffs wish to alert the Court that they will be filing a Motion for Leave to
   Amend their Amended Complaint this afternoon, by the deadline imposed by the Court in
   the Court’s Order of today’s date.
                                                   Respectfully,

                                                                      /s/ Marc A. Scaringi
                                                                      Marc A. Scaringi
                                                                      marc@scaringilaw.com
                                                                      PA Supreme Court ID No. 88346
                                                                      Scaringi Law
                                                                      2000 Linglestown Road, Suite 106
                                                                      Harrisburg, PA 17110
                                                                      717-657-7770 (o) / 717-657-77797 (f)
   cc:       All Counsel via CM/ECF
  NEWPORT OFFICE                  CARLISLE OFFICE                 YORK OFFICE           LANCASTER OFFICE      GETTYSBURG OFFICE
    14 S. Second St.          20 North Hanover Street       120 Pine Grove Commons     1366 Harrisburg Pike   122 Baltimore St. #3
  Newport, PA 17074              Carlisle, PA 17013              York, PA 17403        Lancaster, PA 17601    Gettysburg, PA 17325
     717 567-0380                  717 657-7770                   717 900-4829            717 947-7874           717 900-4829
   717 567-0379 fax              717 960-0074 fax               717 900-4482 fax         717 947-7897 fax       717 900-4482 fax
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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                   :
PRESIDENT, INC., et. al.,             : No: 4:20-CV-02078-MWB
                                      :
            Plaintiffs                :
      v.                              :
                                      :
KATHY BOOCKVAR, et. al.,              :
                                      :
            Defendants                :

                         CERTIFICATE OF SERVICE

      I, Deborah A. Black, Paralegal for Scaringi Law, do hereby certify that I

served a true and correct copy of the Letter to The Honorable Matthew W. Brann,

re: Motion for Leave to File Amended Complaint, in the above-captioned action,

upon all parties via CM/ECF.




Date: November 18, 2020               /s/ Deborah A. Black____________
                                      Deborah A. Black, Paralegal
                                      For Marc A. Scaringi, Esquire and
                                      Brian C. Caffrey, Esquire
